Case 4:25-cr-00007-RAJ-RJK Document 14

IN THE UNITED STATES DISTRICT COURT FOR THE!
EASTERN DISTRICT OF VIRGINIA

UNITED STATES OF AMERICA
V.
NOE MEDRANO NUNEZ,

Defendant.

|
Newport News Division [

Filed 02/24/25 Page 1 of 2 PagelD# 43

FILED
IN OPEN COURT

FEB 24 2005

CLERK, U.S. DISTRICT COURT
NEWPORT NEWS, VA

Criminal No. 4:25-cr-7

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MOTION TO REVIEW RELEASE ORDER
AND MOTION TO STAY RELEASE ORDER PENDING REVIEW

The United States, by and through undersigned counsel, hereby moves under Title 18, United

States Code, Section 3145(a)(1) for de novo review and revocation the Release Order of the Honorable

United States Magistrate Court, and further moves this Honorable Court to stay its Release Order

pending de novo review by the District Court. United States y. Clark, 865 F.2d 1433, 1436 (4" Cir.

1989) (en banc).

By:

ERIK S. SIEBERT
UNITED STATES ATTORNEY

/s/
Devon E.A. Heath
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CERTIFICATE OF SERVICE

I hereby certify that on this 24th day of February 2025, in Magistrate Court, I hand-delivered a
true and correct copy of the foregoing to counsel for the defendant

/s/

Devon E.A. Heath

Assistant United States Attorney
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